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                                        d/b/a MGM Grand
                                   10
                                                                    UNITED STATES DISTRICT COURT
                                   11
                                                                            DISTRICT OF NEVADA
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                                   13    MGM GRAND HOTEL, LLC d/b/a MGM                    Case No. 2:21-cv-001476-APG-NJK
                                         GRAND;
                                   14
                                                                   Plaintiff,              STIPULATION AND ORDER TO
                                   15
                                                                                           EXTEND TIME TO FILE REPLY
                                   16    v.                                                BRIEF IN SUPPORT OF MOTION
                                                                                           FOR SUMMARY JUDGMENT
                                   17    KEVIN CHANG SHENG LONG,
                                                                                           (First Request)
                                   18                              Defendant.
                                   19
                                   20          Plaintiff MGM Grand Hotel, LLC d/b/a MGM Grand ("MGM") and Defendant Kevin
                                   21   Chang Sheng Long ("Long") (together, the "Parties"), by and through their undersigned counsel
                                   22   of record, hereby stipulate and agree to the following:
                                   23          1.      On February 10, 2022, MGM filed a Motion for Summary Judgment against
                                   24   Long. (ECF No. 22.)
                                   25          2.      On February 22, 2022, Long filed an Opposition to the Motion for Summary
                                   26   Judgment. (ECF No. 23.)
                                   27   ///
                                   28   ///


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                                    1           3.     The Parties have agreed to continue the deadline for MGM to file a Reply in

                                    2   support of its Motion for Summary Judgment by one (1) week, up to and including March 15,

                                    3   2022.

                                    4           4.     MGM seeks additional time to file its Reply in order to consult with MGM

                                    5   employees and representatives regarding the preparation of its Reply.

                                    6           5.     MGM also requires additional time to address Long's Opposition, given the nature

                                    7   of the arguments and allegations set forth therein.

                                    8           6.     MGM has not previously requested an extension of the deadline to file a Reply in

                                    9   support of its Motion for Summary Judgment.

                                   10           Nothing in this stipulation shall be construed as a waiver or relinquishment of any party's

                                   11   rights, remedies, objections or defenses, all of which are expressly reserved. This stipulation is
SEMENZA KIRCHER RICKARD




                                   12   submitted in good faith and not for the purpose of delay.
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   Telephone: (702) 835-6803
    Las Vegas, Nevada 89145




                                   13   DATED this 7th day of March, 2022.                    DATED this 7th day of March, 2022.

                                   14   SEMENZA KIRCHER RICKARD                               LAWRENCE C. HILL & ASSOCIATES

                                   15
                                        /s/ Katie L. Cannata                                  /s/ Lawrence C. Hill
                                   16   Lawrence J. Semenza, III, Esq, Bar No. 7174           Lawrence C. Hill, Esq., Bar No. 11989
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                                   19   Attorneys for Plaintiff                               Attorneys for Defendant
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                                    1                                           ORDER

                                    2          IT IS HEREBY ORDERED that the time for MGM to file a Reply in support of its

                                    3   Motion for Summary Judgment is hereby extended by one (1) week, up to and including March

                                    4   15, 2022.

                                    5          IT IS SO ORDERED.

                                    6                                            _______________________________
                                                                                 UNITED STATES DISTRICT JUDGE
                                    7
                                                                                 Dated: March 8, 2022
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